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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

TAMMI LARSEN, in her individual capacity,
and as natural parent and legal guardian of
Ryan Larsen, a minor child;                                      8:23CV190

                     Plaintiff,
                                                                JUDGMENT
       vs.

PAPILLION LA VISTA COMMUNITY
SCHOOL DISTRICT, and JANE DOES 1-3,
individually, and in their official capacities;

                     Defendants.



      Pursuant to the Memorandum and Order entered on this date, this case is

dismissed without prejudice.



      Dated this 1st day of November, 2023.


                                                  BY THE COURT:

                                                  s/ Joseph F. Bataillon
                                                  Senior United States District Judge
